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            UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

MARTA VALENTINA RIVERA
MADERA, on behalf of herself
and all others similarly situated,
FAITH IN FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION FUND,
UNIDOSUS, and VAMOS4PR,

            Plaintiffs,
V.                                          Case No. 1:18-cv-152-MW/GRJ
KENNETH W. DETZNER, in his official
capacity as the Florida Secretary
of State, and KIM A. BARTON, in her
official capacity as Alachua County
Supervisor of Elections, on behalf of
herself and similarly situated County
Supervisors of Elections,

           Defendants.
__________________________/

ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’
       EMERGENCY MOTION FOR IMMEDIATE RELIEF

      This Court has considered, without hearing, Plaintiffs’ Emergency

Motion for Immediate Relief Requiring Compliance with Preliminary

Injunction. ECF No. 77. Specifically, Plaintiffs request that this Court order

Defendant Secretary of State Kenneth Detzner to “ensure compliance with the

preliminary injunction by ensuring that Spanish-language facsimile ballots

are made available at all polling sites in Duval County (and the 31 other



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counties at issue), including on Election Day.” Id. at 7. The motion is

GRANTED in part and DENIED in part.

       On September 10, 2018, this Court granted in part Plaintiffs’ motion for

preliminary injunction. ECF No. 59. This Court ordered Defendant Detzner to

direct 32 county supervisors of elections 1 to “make available a facsimile sample

ballot in Spanish to voters who fall within the ambit of Section 4(e) of the

Voting Rights Act.” Id. at 26. In doing so, this Court applied the plain language

of Section 4(e) of the Voting Rights Act, which unequivocally “prohibit[s] the

States from conditioning the right to vote of [Puerto Ricans] on ability to read,

write, understand, or interpret any matter in the English language.” 52 U.S.C.

§ 10303(e)(1). This Court emphasized that Puerto Ricans are American citizens

and are educated primarily in Spanish. Thus, they possess the precious right

to vote but, unique among non-English-speaking Americans, are not required

to be educated in English at any level.

       Due to the time constraints of the election cycle and the burdens that

printing official Spanish-language ballots would impose on the state and

county supervisors of elections, this Court granted to Plaintiffs the bare

minimum relief the Voting Rights Act requires. The heart of this Court’s



1These counties are Alachua, Bay, Brevard, Charlotte, Citrus, Clay, Columbia, Duval, Escambia,
Flagler, Hernando, Highlands, Indian River, Jackson, Lake, Leon, Levy, Manatee, Marion,
Martin, Monroe, Okaloosa, Okeechobee, Pasco, Putnam, St. Johns, St. Lucie, Santa Rosa,
Sarasota, Sumter, Taylor, and Wakulla.
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minimal relief was the requirement that Defendant Detzner order counties to

“make available” facsimile ballots in Spanish. This Court could be fairly

criticized for not going far enough in granting Plaintiffs’ requested relief.

       Now, after the end of the early-voting period and on the eve of Election

Day, Plaintiffs have filed an emergency motion seeking to ensure compliance

with this Court’s order on preliminary injunction. The cause of this motion was

Duval County Supervisor of Elections Mike Hogan’s strained and selective

reading of this Court’s preliminary injunction order. See ECF No. 78, Ex. A.

His reading, which inexplicably ignored this Court’s unambiguous language to

“make available a facsimile sample ballot in Spanish to voters who fall within

the ambit of Section 4(e) of the Voting Rights Act” apparently, and

unfortunately, resulted in no Spanish-language sample ballots being provided

during the early-voting period in Duval County. With early voting now

concluded, remedies related to early voting have left the station. 2

       Now onto Election Day. Plaintiffs provide evidence that Supervisor

Hogan “will be posting precinct specific Spanish-language and English-

language sample ballots at each of Duval County’s 199 voting precincts on

Election Day. Additionally, Spanish-language ballots will be available for any

voter who requests one on Election Day.” ECF No. 78, Ex. C. Supervisor Hogan


2Whether a legal remedy exists or whether this remains a political question for the people of
Duval County at the next supervisor of elections’ race can be addressed on a future non-emergency
basis.
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should be commended for providing official Spanish-language ballots—after

all, this went beyond this Court’s minimal requirements. See ECF No. 59, at

26–27.

      Even so, Supervisor Hogan’s Election Day arrangements are precisely

those arrangements that Congress mandated election officials take by passing

Section 4(e) of the Voting Rights Act. And these arrangements in 32 Florida

counties only resulted after this Court was forced to apply the plain language

of the Act to these non-complying counties—and this only after several

organizations filed a lawsuit seeking compliance.

      Let this Court be plain. “The Supervisor of Election shall make available

a facsimile sample ballot in Spanish to voters who fall within the ambit of

Section 4(e) of the Voting Rights Act,” id. at 26, means Spanish-language

sample ballots shall be available at all polling locations. It is not only this

Court’s Preliminary Injunction Order requiring Supervisor Hogan to comply

with the Voting Rights Act. It is also the Voting Rights Act. And it is also

Florida law. The Secretary of State has the responsibility to “provide written

direction and opinions to the supervisors of elections on the performance of

their official duties.” Fla. Stat. § 97.012(16). The Secretary did so on September

11, 2018. See ECF No. 61.

      Finally, this Court notes that it did not sit on Plaintiffs’ motion. It

received Plaintiffs’ emergency motion at 11:57 p.m. EST on Sunday, November

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4 and is now issuing this Order before 1:00 p.m. on Monday, November 5,

having just picked a jury in another matter.

      Accordingly,

      IT IS ORDERED:

      1. Plaintiffs’ Emergency Motion for Immediate Relief Requiring

         Compliance with Preliminary Injunction, ECF No. 77, is GRANTED

         in part and DENIED in part. It is GRANTED insofar as the

         Secretary of State shall ensure compliance with this Court’s order on

         preliminary injunction. It is DENIED insofar as Plaintiffs seek any

         relief related to early voting.

      2. The Secretary of State shall electronically notify the supervisors of

         elections of the 32 covered counties by 5:00 p.m. on November 5,

         2018 that compliance with this Court’s order on preliminary

         injunction is not optional. Accordingly, facsimile sample ballots in

         Spanish shall be available to all voters who fall within the ambit of

         Section 4(e) of the Voting Rights Act. All terms of this Court’s order

         on preliminary injunction remain in effect. The Secretary shall attach

         this Order in his notification to the supervisors of elections.

      3. The Secretary of State shall provide this Court a notice of compliance




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   with this Order by 6:30 p.m., November 5, 2018.

SO ORDERED on November 5, 2018.


                             s/Mark E. Walker           ____
                             Chief United States District Judge




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